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11    ATTORNEYS FOR OPERATORS OF
12    NHENTAI.NET

13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                 WESTERN DIVISION
15
      PCR DISTRIBUTING CO., a company Case No. 2:24-cv-07453- FLA-AJR
16
      organized under the laws of California,
17                                            NHENTAI.NET’S RESPONSE TO
18
                   Plaintiff                  PLAINTIFF’S MOTION FOR
      vs.                                     EARLY DISCOVERY
19

20
      JOHN DOES 1-20 d/b/a                          Date: October 4, 2024; 1:30 p.m.
      NHENTAI.NET                                   Place: First Street Courthouse
21                                                  350 W. 1st Street
22
                     Defendants                     Courtroom 6B, 6th Floor
                                                    Los Angeles, California 90012
23                                                  Judge: Hon. Fernando L. Aenlle-Rocha
24

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     NHENTAI,NET’S RESPONSE TO PLAINTIFF’S MOTION FOR EARLY DISCOVERY                 PAGE 1
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                                              #:193



 1 TO THE HONORABLE COURT:

 2          The operators of the nhentai.net website (“Nhentai.net”) whose information is
 3 the subject of PCR Distributing, Co.’s (“Plaintiff” or “PCR”) Motion for Early

 4 Discovery (Dkt. No. 10) hereby notify the Court and counsel for Plaintiff that

 5 Nhentai.net intends to file a Motion for Protective Order and to permit any potential

 6 Nhentai.net-related defendants to proceed anonymously. Counsel for Nhentai.net

 7 has only recently learned of the early discovery proposed by Plaintiff into

 8 information of a highly confidential and sensitive nature, including Nhentai.net’s

 9 “login information, billing and transaction records, account information, server

10 logs and IP addresses, email exchanges, and IP login information related to the

11 Defendants’ accounts for the NHentai.net domain name.” Dkt. No. 10 at 7, lines 10-

12 14 (emphasis added). Among other things, Plaintiff’s request implicates serious data

13 privacy concerns relating to Nhentai.net’s login information. Plaintiff is also broadly

14 requesting Nhentai.net’s private and highly confidential financial information such

15 as billing and transaction records and account information, which would necessarily

16 include payment information such as complete credit card numbers. Plaintiff does

17 not propose any protections for such information being made public.

18          Prior to deciding Plaintiff’s Motion for Early Discovery (Dkt. No. 10),
19 Nhentai.net respectfully asks this Court to permit Nhentai.net to file motions for

20 protection relating to the information sought by Plaintiff’s overly broad and highly

21 improper requests and how it may be used in this case going forward.

22 Dated: September 26, 2024                    By:___ ____________________
23                                                 John T. Wilson*
                                                   Texas Bar No. 24008284
24                                                 Jennifer M. Rynell*
25                                                 Texas Bar No. 24033025
                                                   eservice@wwrlegal.com
26                                                 WILSON WHITAKER RYNELL
27                                                 Wilson Legal Group P.C.

     NHENTAI,NET’S RESPONSE TO PLAINTIFF’S MOTION FOR EARLY DISCOVERY                 PAGE 2
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12                                                  Attorneys for Operators of
                                                    Nhentai.net
13

14
                                 CERTIFICATE OF SERVICE
15
            On September 26, 2024, I filed the foregoing document with the clerk of court
16
     for the U.S. District Court, Central District of California via CM/ECF. I hereby
17
     certify that I thereby have served the document on all counsel and/or pro se parties
18
     of record by a manner authorized by Federal Rule of Civil Procedure 5(b)(2) and the
19
     Local Rules.
20

21                                                     /s/

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     NHENTAI,NET’S RESPONSE TO PLAINTIFF’S MOTION FOR EARLY DISCOVERY                 PAGE 3
